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                                       Clark County, Ohio
                                            FILED
                                          JAN 2 1 2025
                                     Common Pleas Court
                                    Melissa M. Tuttle, Clerk




                IN THE COMMON PLEAS COURT OF CLARK COUNTY, OHIO
                             CRIMINAL DIVISION

  STATE OF OHIO                                        Case No. 2024 CR 278

         Plaintiff,                                    Judge Rastatter

  vs.

  WILLIAM BROCK                                        MOTION FOR CONTINUANCE

         Defendant.


        Now comes the Defendant, WILLIAM BROCK, by and through his attorneys, RION,
  RION AND RION, L.P.A., INC., and hereby moves this Court for an order continuing the
  hearing currently scheduled for Thursday, January 23, 2025, at 8:30 a.m. for the reason that service
  has not yet been perfected on the Federal Bureau oflnvestigation (F.B.I.).



                                                       Respectfully Submitted,

                                                       Isl John H Rion

                                                       JOHN H. RION (0002228)
                                                       RION, RION & RION, L.P.A., INC.
                                                       Counsel for Defendant
                                                       130 West Second Street, Ste. 2150
                                                       Dayton, Ohio 45402
                                                       (937) 223-9133
                                                       (937) 223-7540 (Fax)
                                                       info@rionlaw.com




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                                 CERTIFICATE OF SERVICE


         I, the undersigned do hereby certify that a copy of the foregoing was forwarded to the
  Office of the Prosecutor, Kadwani Scott via electronic mail: kscott@clarkcountyohio.gov on the
  21st day of January 2025.


                                             Isl John H Rion

                                             JOHNH.RION
                                             RION, RION & RION, L.P.A., INC.
